 

Case 18-11146-L|\/|| Doc 53 Filed 08/17/18 Page 1 of 5

UNITED STATES BANKRUPTCY COURT, SOUTHERN DlSTRICT OF FLORIDA

www.tlsb.uscouns.gov
CHAPTER 13 PLAN (Igdiyidual Adiustment of Debts|

 

 

 

 

|:] Original Plan
|:] 2 Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
|:] Moditied Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Jimmy Steve Autran JOINT DEBTOR: CASE NO.: 18-11146-LMI
SS#: xxx-xx- £_81___ SS#: xxx-xx-
I. NOTlCE§
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIlI. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a .
partial paymenth no payment at all to the secured creditor |:i Included l:| Not included

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section Ill |:| In°luded iii NO! included

 

 

 

Nonstandard provisions, set out in Section VIII [E Included |:l Not included

 

II. PL PAY E 'I` L N DEBT R ' 'l"l` ' E

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

1. $1,888.11 formonths_1_t01_2;
2. $12867.71 for monthsL to _QO__ ;
3. $0.00 for months_ to____ ;
B. DEBTOR§S)' ATTORNEY'§ FEE: m NONE [:| PRO BONO
Total Fees: $7000.00 Total Paid: $1657.00 Balance Due: $5343.00
Payable $459.30 /month (Months _1_ to L )
Payable $290.70 /month (Months £ to _Q )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3500 for base attomey‘s fees; $2500 for MMl\/l; $775.00 for MTV, $150 for general expenses; and $100 for MMM expenses.

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

lll. TREATMENT OF SECURED §§LAIMS

A. SECURED QLAlMS: l:] NONE
[Retain Liens pursuant to 1 l U.S.C. §1325 (a)(S)] Mortgage(s)/Lien on Real or Personal Property:

 

1- Credi'f°ri JPMorgan Chase Bank, N.A.
AdCl!'CSSZ Mail COd€f OH4'7142 Arrearage/ Payoff on Petition Date

3415 Vision Drive .
Columbus, OH 43219 MMM Adequate Protection $1,240.00 /month (Months l to L )

 

 

 

 

LF-Sl (rev. 10/3/17) Page l of 5

Case 18-11146-L|\/|| Doc 53 Filed 08/17/18 Page 2 of 5

Debtor(s): Jimmy Steve Autrzm Case number: 18-11146-LMI

 

 

Last 4 Digits of
Account No.: 1218

Other:

 

1:1 Real Property Check one below for Real Property:
[:lPrincipal Residence I:]Escrow is included in the regular payments
[:|Other Real Property l:]The debtor(s) will pay \:Itaxes [:]insurance directly

Address of Collateral:
713 NW 129 Court, Miami, FL 33182

I:] Personal Property/Vehicle

Description of Collateral:

 

 

 

 

B. YALQATIQH QE §§§)LLA[ ERAL: |:| NONE

lF YOU ARE A SECURED CREDI'I`OR LISTED BELOW, THE PLAN SEEKS TO VALUE Tl-[E COLLATERAL
SECURING YOUR CLAIM IN 'I`HE AMOUN'I` fNDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUAN'I` TO BR 7004 AND LR 3015-3.

l. REAL PROPERTY: l:l NONE

 

1. creditor: BOSCO Credlf ll Trust S¢rles value of collareral: $422,815.00 P_am_en_t
2010-1 __ . .
Amount of Creditor's Lien: $97,959.46 T°fal Pald m Plani $0.00
Address; c/o Franklin Credit __
Management CoerO Box
829629 Interest Rate: 0.00% $0.00 /month (Months _to __

Philadelphia, PA 19182-9269

Last 4 Digits ofAccount No.: 7277 Check one below

I:l Escrow is included in the monthly

Real Property mortgage payment listed in this section
E]Principal Residence l:| The debtor($) Wi" Pay

‘:]Other Real property |:|taxes [:|insurance directly
Address of Collateral:

713 NW 129 Court, Miami, FL 33182

 

 

 

 

 

 

2. VEHICLES(S): E| NONE
3. PERSONAL PROPERTY: I:l NONE

C. LIEN AVOIDANCE E| NONE

D. SURRENDER QF QQLLA leBAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
l:l NONE

E. DIRE§;[[ RAXMEET§: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.
[:l NONE

|:| The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of greditor Last_‘l_.D_igit§_Qf_A§¢_osmtIiL D§S£uptmn_Qf_C_Qllal§£al_£AddL¢_s§.jL¢.thl§.§_t£&
Wells Fargo Bank N.A., d/b/'a 0069 2003 PORSCHE 911-6 CYL.

1' Wells F argo Dealer Services

IV. MMEE.EAED_P_BIQKMALM§[M defined in ll U.S.C. §507 and ll U.S.C. § 1322(a)(4)]
_ : l:| NONE

 

LF-3l (rev. 10/3/l7) Pagc 2 ol`5

VI.

VIl.

VIlI.

Case 18-11146-L|\/|| Doc 53 Filed 08/17/18 Page 3 of 5
Debtor(s): Jimmy Steve Autran Case number: 18-11146-LMI

B. lNTERNAL REVENUE SERVl§§ : I:] NONE

C. DOME§TIQ SUPPQRT QBLIQATlQN(s): [§| NONE
D. OTHER: l§] NONE

TRE T T F E D
A. Pay $440.94 /month (Months 12 to _L )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [:| If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPAMTELY QLASSIFIED: |§] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.
EXEQQTQRY QQNTBAQ]:§ AND UEEXE|BED LEA§E§: Secured claims filed by any creditor/lessor granted stay relief in this

section shall not receive a distribution from the Chapter 13 Trustee.
@ NONE

INCOME 'l`AX RETQBNS AND REFUNDS: [:] NONE

[:] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

NON-STANDARD PLAI§ PRQVI§IO]§§ [] NONE
I:] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

 

[:] Mortgage Modification Mediation

LF-3l (rev. 10/3/17) Page 3 01`5

Case 18-11146-L|\/|| Doc 53 Filed 08/17/18 Page 4 of 5

Debtor(s): Jimmy Steve Autran Case number: 18-11146-LMI

l The debtor has filed a Verified Motion for Referral to MMM with:

Chase ("Lender")
loan number 3062131218

for real property located at 713 NW 129 Court, Miami, FL 33182

 

 

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/I..ocal
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward I-IOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
14 calendar days following settlement Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

If a settlement is reached alter the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement,

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

lf the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proofof
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
of Claim.

LF-3l (rev. 10/3/17) Page 4 of 5

Case 18-11146-L|\/|| Doc 53 Filed 08/17/18 Page 5 of 5

Debtor(s): Jimmy Steve Autrzm Case number: 18-11146~LMI

 

PROPER'I`Y OF THE ESTATE WlLL VEST IN THE DEBTOR(S) UPON PLAN CONFlRMATlON.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

Debtor Joint Debtor
Jimmy Steve Autran Date Date
/s/ Ricardo A Rodriguez August 17, 2018
Attomey with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIll.

LF-31 (rev. 10/3/17) Page 5 of 5

